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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF NEW YORK


NEW YORK STATE RIFLE AND PISTOL                      )
ASSOCIATION, INC., et al.,                           )
                                                     )
                        Plaintiffs,                  )
                                                     ) Civil Action No. 18-cv-134-BKS-ATB
       v.                                            )
                                                     )
GEORGE P. BEACH II, et al.,                          )
                                                     )
                        Defendants.


                                      NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs New York State Rifle and Pistol Association, Inc.,

Robert Nash, and Brandon Koch hereby appeal to the United States Court of Appeals for the

Second Circuit from the Memorandum-Decision and Order and Order and Judgment granting

Defendants’ motion to dismiss, entered in this action on December 17, 2018. Copies of the

Memorandum-Decision and Order and Order and Judgment are attached hereto as Exhibits A

and B, respectively.


Dated: January 15, 2019                               Respectfully submitted,

David H. Thompson*                                    s/ Kathleen McCaffrey Baynes
Peter A. Patterson*
                                                      Kathleen McCaffrey Baynes
John D. Ohlendorf*
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will cause a copy of the document to be

served electronically on all parties or their counsel.


                                                      s/ Kathleen McCaffrey Baynes
                                                      Kathleen McCaffrey Baynes

                                                      Attorney for Plaintiffs




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